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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF KANSAS

IN RE:

Case No. 20-20786
Chapter 11

THE YOUNG MEN’S CHRISTIAN
ASSOCIATION OF TOPEKA, KANSAS

Debtor-in-Possession

 

DEBTOR’S SUBCHAPTER V —- SMALL BUSINESS
DEBTOR REORGANIZATON PLAN
DATED JULY 15, 2020

The debtor, The Young Men’s Christian Association of Topeka, Kansas (“Debtor’” or
“Topeka Y”), a 501(c)(3) corporation, proposes this Plan of Reorganization (“Plan”) pursuant to
Subchapter V — Small Business Debtor Reorganization Act, Pub. L. 116-54 (as amended). The
general provisions of this provision of the United States Bankruptcy Code (“Bankruptcy Code’)
are contained in 11 U.S.C. §1181, ef seq.

ARTICLE 1
PROPONENTS

The proponent, the Debtor, proposes its plan of adjustment of its debt pursuant to
Subchapter V — Small Business Debtor Reorganization of Title 11 of the United States
Bankruptcy Code. All terms shall have the same definitions used in the Bankruptcy Code, the
Federal Rules of Bankruptcy Procedure and the Local Rules of the United States Bankruptcy
Court for the District of Kansas.

ARTICLE 2
SUBMISSION OF INCOME

Except as specifically provided herein, the Debtor shall pay to its creditors such portion
of its earnings and other future income as is necessary for the execution of this Plan for a 3-year
period of time as is required under 11 U.S.C, §1191(c)(2)(A). In no event, however, shall the
portion of the Debtor’s earnings and other future income paid pursuant to this Plan be less than
the projected disposable income of the Debtor for the 3-year period of time. The payments to
creditors will be made as hereinafter provided in the attached exhibits.

To the extent Plan provisions provide for an amortization of greater than 3 years for
secured creditors, the first three (3) years of the payment(s) to the secured creditor(s) shall be
paid through the Plan, potentially utilizing the services of the Subchapter V Small Business

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Trustee (“Trustee”) as authorized under 11 U.S.C. §1183, and after the 3-year period, the
payment(s) shall be made directly by the reorganized Debtor.

ARTICLE 3
VALUE OF PROPERTY TO BE DISTRIBUTED

The value of property to be distributed in the 3-year period under this Plan beginning on
the date in which the first distribution is due under the Plan is not less than the projected
disposable income of the Debtor pursuant to 11 U.S.C. §1191(c)(2)(B), nor less than the value of
the unencumbered assets free of liens.

ARTICLE 4
FEASIBILITY

The Debtor asserts that it will be able to make all payments under the Plan and it will not
be required to liquidate nonexempt assets to protect the holders of claims or the interest as is
required under 11 U.S.C. $1191(c)(3).

ARTICLE 5
PAYMENTS TO CREDITORS

To the extent that this is a consensual Plan approved in advance by the Debtor’s creditors,
the Debtor shall make such payments directly to the creditors and the Trustee shall be discharged
or terminated from all required duties.

In the event that this Plan is confirmed on an nonconsensual basis, payments shall be
made to the Trustee to be distributed in accordance with this Plan under 11 U.S.C. §1194. It is
not anticipated that there will be payments to the Trustee prior to confirmation of this Plan.

At the conclusion of the 3-year Plan period, the Trustee’s services shall terminate, the
Debtor discharged under 11 U.S.C. §1192 and the case closed.

ARTICLE 6
PROPERTY OF THE ESTATE

Upon confirmation of the Debtor’s Plan, property of the estate shall include, in addition
to the property specified in 11 U.S.C. §541:

a. All property that the Debtor acquires after the commencement of the case,
but before the case is closed, dismissed or converted;

b. Earnings from services performed by the Debtor after the commencement
of the case, but before the case is closed, dismissed or converted.

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ARTICLE 7
VESTING OF ASSETS

Upon confirmation of this Plan, the Debtor shall remain in possession of all property of
the estate. However, the property will vest in the Debtor free and clear of all liens and
encumbrances, except as set forth herein for those creditor(s) who hold non-avoidable secured
liens upon the Debtor’s property and whose amortization of debt period exceeds the 3-year Plan
period.

ARTICLE 8
EXEMPTION FROM TRANSFER TAXES

Under, and to the fullest extent permitted by 11 U.S.C. §1146(a) of the Bankruptcy Code,
the making or delivery of any instrument whatsoever in furtherance of or in connection with the
Plan will not be subject to any document recording tax, stamp tax, conveyance fee, mortgage tax,
real estate transfer tax, mortgage recording tax, filing or recording fee, or other similar tax or
governmental assessments.

ARTICLE 9
PRIORITY CREDITORS

Creditors holding claims entitled to priority under 11 U.S.C. §507 shall be paid in full in
cash payments as set out in Exhibit A(1) attached hereto within sixty (60) days of confirmation.

ARTICLE 10
CLASSIFICATION AND TREATMENT OF SECURED CREDITORS

Creditors holding claims secured in part or in full by an interest in property of the estate
shall be classified and treated as set forth in Exhibit A(2) attached hereto. In all cases, the
Debtor has established the value of each secured creditor’s claim based upon the values set forth
in the Liquidation Analysis.

ARTICLE 11
CLASSIFICATION AND TREATMENT OF UNSECURED CREDITORS

Creditors holding unsecured claims (including the unsecured claims of under-secured
creditors), except those entitled to priority under 11 U.S.C. §507, shall be classified and treated
as set out in Exhibit A(3) attached hereto.

ARTICLE 12
OBJECTIONS TO CLAIMS

From and after the Effective Date (which is defined as thirty (30) days after the entry of
the order confirming the Plan), both the Debtor and Trustee will have authority to file, settle,
compromise, withdraw or litigate to judgment objections to claims. The Trustee will have
standing to file objections to such claims even if such claims were scheduled by the Debtor as

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undisputed, liquidated and non-contingent. The Trustee will file objections to such claims no
later than ninety (90) days after the Effective Date (unless extended by an order of the
Bankruptcy Court); provided, however, that the Trustee may file objections to such claims within
90 days of the filing of an amended claim.

If the Trustee objected to a claim, payment will be withheld only with respect to the
amount actually in dispute, and such objection will not affect payments or distributions under the
Plan on the undisputed portion of the claim.

ARTICLE 13
INJUNCTION

EXCEPT AS OTHERWISE PROVIDED IN THE PLAN OR THE CONFIRMATION
ORDER, ON AND AFTER THE CONFIRMATION DATE, EXCEPT AS OTHERWISE SET
FORTH IN THE PLAN, ALL PERSONS AND ENTITIES WHO HAVE HELD, HOLD OR
MAY HOLD LIENS, CLAIMS OR INTERESTS IN OR AGAINST THE DEBTOR ARE,
WITH RESPECT TO OR ON ACCOUNT OF ANY SUCH LIENS, CLAIM OR INTERESTS,
ENJOINED FROM: (I) COMMENCING, CONDUCTING OR CONTINUING IN ANY
MANNER, DIRECTLY OR INDIRECTLY, ANY SUIT, ACTION OR OTHER PROCEEDING
OF ANY KIND (INCLUDING, WITHOUT LIMITATION, ANY PROCEEDING IN A
JUDICIAL, ARBITRAL, ADMINISTRATIVE OR OTHER FORUM) AGAINST OR
AFFECTING THE DEBTOR OR ITS PROPERTY, DIRECT OR INDIRECT TRANSFEREES,
DIRECT OR INDIRECT SUCCESSORS IN INTEREST, REPRESENTATIVES, AGENTS, OR
PROFESSIONALS; (II) ENFORCING AGAINST, LEVING UPON OR ATTACHING
(INLCUDING, WITHOUT LIMITATION, ANY PREJUDGMENT ATTACHMENT) THE
DEBTOR OR ITS PROPERTY, DIRECT OR INDIRECT TRANSFEREES, DIRECT OR
INDIRECT SUCCESSORS IN INTEREST, REPRESENTATIVES, AGENTS, OR
PROFESSIONALS; (II) ENFORCING, LEVYING, ATTACHING (INCLUDING, WITHOUT
LIMITATION, ANY PREJUDGMENT ATTACHMENT), COLLECTING OR OTHERWISE
RECOVERING BY ANY MANNER OR MEANS WHETHER DIRECTLY OR INDIRECTLY,
OF ANY JUDGMENT, AWARD, DECREE, CLAIM OR ORDER AGAINST THE DEBTOR
OR ITS PROPERTY, DIRECT OR INDIRECT TRANSFEREES, DIRECT OR INDIRECT
SUCCESSORS IN INTEREST, REPRESENTATIVES, AGENTS OR PROFESSIONALS; (IV)
CREATING, PERFECTING OR OTHERWISE ENFORCING IN ANY MANNER, DIRECTLY
OR INDIRECTLY, ANY LIENS, CLAIMS OR INTERESTS OF ANY KIND AGAINST OR
IN THE DEBTOR OR ANY OF ITS PROPERTY, DIRECT OR INDIRECT TRANSFEREES,
DIRECT OR INDIRECT SUCCESSORS IN INTEREST, REPRESENTATIVES, AGENTS OR
PROFESSIONALS; (V) OTHER THAN AS OTHERWISE EXPRESSLY PROVIDED FOR IN
THE PLAN, ASSERTING ANY RIGHT OF SETOFF, SUBORDINATION OR
RECOUPMENT OF ANY KIND, DIRECTLY OR INDIRECTLY, AGAINST ANY
OBLIGATION DUE THE DEBTOR OR ANY OF ITS PROPERTY, DIRECT OR INDIRECT
TRANSFEREES, DIRECT OR INDIRECT SUCCESSORS IN — INTEREST,
REPRESENTATIVES, AGENTS OR PROFESSIONALS; AND (IV) TAKING ANY
ACTIONS IN ANY PLACE AND IN ANY MANNER WHATSOEVER THAT DO NO
CONFORM TO OR COMPLY WITH THE PROVISIONS OF THE PLAN WITHOUT LEAVE
OF THE BANKRUPTCY COURT.

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Except as otherwise provided in the Plan and Confirmation Order, all injunctions or stays
provided for in the case under 11 U.S.C. §105 or 11 U.S.C. §362 of the Bankruptcy Code, or
otherwise, and in existence on the confirmation date, will remain in full force and effect through
the imposition of the injunction set forth above.

ARTICLE 14
EXCULPATION AND LIMITATION OF LIABILITY

Neither the Debtor, nor any of its respective members, officers, directors, shareholders,
employees, advisors, attorneys or agents or representatives acting in such capacity, will have or
incur any liability to, or be subject to any right of action by, any person or entity, for any act or
omission in connection with, relating to or arising out of, the case or the pursuit of confirmation
of the Plan, except to the extent arising out of fraud, willful misconduct or gross negligence, and
in all respects will be entitled to rely reasonably upon the advice of counsel with respect to their
duties and responsibilities under the Plan.

ARTICLE 15
EXECUTORY CONTRACTS

All executory contracts of the Debtor that: (i) are not identified as being assumed; (ii)
have not expired by their own terms; or (iii) have not otherwise been assumed prior to
confirmation of the Plan will be deemed rejected under 11 U.S.C. §365 of the Bankruptcy Code
on the Effective Date.

To the extent that the Court may rule that business agreements between the Debtor and
the Series 2011A bondholders are in the nature of an executory contract, as opposed to a
disguised financing transaction, the Debtor reserves the right to assume or reject such contracts
within 60 days of the final order of a court of competent jurisdiction construing, ordering or
finding that such documents are in the nature of a true lease under 11 U.S.C. §365.

All proofs of claim with respect to claims arising from the rejection of executory contract
must be filed with the Bankruptcy Court no later than thirty (30) days after confirmation date.
The claims of any person arising from the rejection of executory contracts or unexpired leases
that fails to timely file a proof of claim will be discharged under 11 U.S.C. §1141(d) of the
Bankruptcy Code and forever barred from assertion against the Debtor or its assets.

ARTICLE 16
CURE OF DEFAULTS

No cure of defaults is provided for under this Plan, except by the payment of Plan
payments.

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ARTICLE 17
APPLICATION OF PAYMENTS

Payments through this Plan, whether made by the Debtor under a consensual confirmed
Plan or by the Trustee under a nonconsensual confirmed Plan, shall be allocated as follows:

a. To the payment of administrative expenses that may be due, including
professional expenses and the Trustee’s approved hourly compensation;

b. Pro rata to the payment of claims entitled to priority under 11 U.S.C. $507
and as may be specified in Exhibit A(1);

c. To the secured claim of the bondholders under the Economic
Development Refunding Revenue Bonds, Series 2011A (“Series 2011A Bonds”);

d. Pro rata to the payment of all unsecured and the under-secured claim of
the bondholders under the Series 2011A Bonds.

ARTICLE 18
EFFECTIVE DATE

The Plan shall become effective thirty (30) days after the entry of the order of
confirmation by the United States Bankruptcy Court.

ARTICLE 19
EFFECT OF CONFIRMATION

The Court shall retain jurisdiction of the assets of the estate pending the Debtor’s
discharge. The Debtor may seek modification of the Plan after confirmation pursuant to 11
U.S.C. §1193 upon such notice as the Court shall direct. Confirmation shall bind the Debtor,
each creditor and each bondholder as provided in 11 U.S.C. §1191. Except as provided by
separate Court Order, confirmation of the Plan shall continue to act as a stay of any action
against the Debtor or property of the estate of the Debtor.

ARTICLE 20
MODIFICATION OF THE PLAN

As provided in 11 U.S.C. §1193, the Plan and related documents may be altered,
amended or modified by the Debtor before or after the confirmation date.

ARTICLE 21
DISCHARGE

Upon completion of all payments provided for under the Plan, the Debtor shall be
discharged by the Court except as provided in 11 U.S.C. §1192.

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ARTICLE 22
HISTORY OF THE TOPEKA Y

22.1 History.

The Topeka Y was formed in 1880 and has been serving Topeka since formation. An
early director of the Topeka Y was James Naismith, the inventor of basketball.

The Topeka Y had three locations, a north side and downtown location, as well as the
Southwest Topeka Facility that is currently owned by the Debtor. The north side and downtown
locations have been sold, as well as a camp location maintained by the Topeka Y, thus the only
remaining location is the location at 37" Street and Chelsea Drive in Topeka, Kansas (the
“Southwest Topeka Facility”).

The Topeka Y currently offers quality care for preschool and school age children, a gym
facility, after school activities, full day kid’s club, quality youth and summer camps.

In 2000, the City of Topeka issued Economic Development Refunding Revenue Bonds,
Series 2000A, dated August 1, 2000 for the funding of construction of the Southwest Topeka
Facility. The Series 2000A bonds were issued to finance the construction, furnishing and
equipping of the 38,000 square foot recreational health center.

In 2011, the Series 2011A Bonds were issued for the purpose of refunding and redeeming
the City of Topeka’s outstanding Series 2000A Bonds. The Series 2011A Bonds issued on or
about September 7, 2011 were in the original principal amount of $7,055,000.00.

The Series 2011A Bonds have not been registered with the U.S. Securities & Exchange
Commission under the Securities Act of 1933, as amended, nor has the bond indenture been
qualified under the Trust Indenture Act of 1939, as amended, in reliance upon exemptions
contained in such Acts. The Series 2011A Bonds were issued in accordance with K.S.A. 12-
1740, ef seq.

The Series 2011A Bonds are funded by a “lease” payment made by the Topeka Y to the
City of Topeka under an alleged lease agreement dated September 1, 2011. Kansas case law has
substantiated that although the relationship between the City of Topeka as a fee title holder and
the Topeka Y is a lessor/lessee relationship, the United States Bankruptcy Court for the District
of Kansas has construed the transaction as a “disguised financial transaction,” and thus able to be
restructured under the provisions of the Bankruptcy Code. Thus, the lease between the City of
Topeka and the Topeka Y for the Southwest Topeka Facility is not a true lease that can be
assumed or rejected under 11 U.S.C. §365, but a financing transaction that may be adjusted,
restructured or “crammed down” to the value of the collateral.

Kansas Bankruptcy Courts hold that an Industrial Revenue Bond lease is a disguised
financing transaction. See In Re KAR Development Associates, LP, 180 B.R. 597 (Bankr. Kan.
1994) aff'd City of Olathe v. KAR Development Associates, LP (In Re KAR Development
Associates, LP), 180 B.R. 629 (D. Kan. 1995); Contra. In Re Petroleum Products, Inc., 72 B.R.

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739 (Bankr. Kan. 1987), aff'd 180 B.R. 629 (D. Ct. Kan. 1995). In other unpublished decisions,
the Court has found that it is a disguised financing transaction. See In Re Southwind Hospice,
LLC, Case No. 12-23053 (unpublished).

In KAR, the Kansas District Court utilized an economic realities test determining that the
following factors are relevant in deciding whether an agreement constitutes a true lease:

“(1) whether the amount of rent was calculated to compensate for use
of the land or rather was based on some other purpose such as ensuring
particular return on an investment;

(2) whether the property was purchased by the lessor specifically for
the lessee’s use;

(3) whether the transaction was called a lease in order to gain certain
tax advantages;

(4) whether the lessee assume many of the obligations normally
reserved for the lessor; and

(5) whether the agreement permits or requires the lessee to purchase
the property for a nominal sum at the end of the lease term.” 180 B.R. at
639

In KAR, the Court determined that the lease payments on the Industrial Revenue Bond
were not related to rental value, but rather were calculated to retire the bond debt in a manner
similar to repayment of a loan, much as the bond payments are under the Series 2011A Bond
issuance,

Other factors noted in KAR were that the site for the facility was actually chosen by the
debtor and that the transaction was termed a “lease” in order to meet the requirements of the
Kansas Industrial Revenue Bond statute and thus to give tax advantages. The debtor/lessee in
KAR was responsible for ad valorem taxes and all repairs and maintenance, required to provide
casualty and liability insurance and permitted to alter the facility and make additional
improvements without the City’s consent, as long as it did not affect the intended use or
structural integrity. Additionally, the bond issuance granted the debtor in KAR an option to
purchase the property at the end of the term and prohibit the City from selling the property
before then,

The Bankruptcy Court and district court on appeal thus concluded that the agreements did
not constitute a lease under the economic realities test. 180 B.R. at 639 These factors exist in
the Series 2011A Bond documents.

The Bond Purchase Agreement dated August 23, 2011 for the Series 2011A Bonds
contains the following requirements of the Topeka Y pertaining to the bond issuance:

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a. To pay all taxes upon the Southwest Topeka Facility;
b, To pay all insurance associated with the Southwest Topeka Facility;

C, To provide that any insurance proceeds are utilized to restore the property
in the event of fire, casualty or damage;

d, Any claim concerning condemnation proceeds or the realization on a title
insurance claim will be paid to the bondholders;

e, The Topeka Y is prohibited for future encumbrances, except as limited by
the bond documents, or as authorized by the Bond Trustee;

f, A prohibition against sale, lease or other disposition of the property;

g. A prohibition against the merger, consolidation, sale or conveyance of the
Topeka Y;

h. Certain financial ratio covenants to be maintained; and

i. An option to purchase.

See Bond Purchase Agreement, Pgs. C-33 through C-50.
22.2 Recent Financial History

Historical revenue of the Topeka Y, as gleaned from the Topeka Y’s IRS Form 990 tax
return, shows the following annual revenue:

2016 $4,371,044.00;
2017 $4,451,571.00;
2018 $2,113,871.00;
2019 $2,390,002.00.

Thus, in the last several years there has been a drop of over 50% of annual revenue. This
has been caused by increased competition from for-profit exercise and gym facilities, together
with the sale of the downtown and north Topeka Y locations, and a camp owned by the Topeka
Y to third parties. The Topeka Y held three locations in 2016 and 2017, hence the approximate
$4,000,000.00 revenue.

There are approximately sixteen (16) for-profit gym and fitness facilities in Topeka,
Kansas, including:

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a. Colaw Fitness;

b. Pinnacle Fitness;

C. Two Genesis Healthclub locations;

d. Sunflower Strength and Conditioning;
e. Anytime Fitness;

f. Lion Heart Athletic Performance;

g. Plant Fitness;

h. Crossfit Freestate;

i. Great LIFE Central;

j. Total Fitness Body Zone;

k. Fitrition Strength Guild of Topeka;
1, Crunch Fitness;

m. Baila Fitness Studio Topeka;

n. Sonny’s Gym;

0. Jazzercise Topeka Fitness; and

p. Fitness and Training.

These for-profit facilities have targeted their marketing for younger, more affluent
parties, leaving to the Topeka Y its traditional member or customer base, the young and the
elderly.

22.3. Appraisal of Facility

The Topeka Y obtained the services of Valbridge Property Advisors of Overland Park,
Kansas (“Valbridge’’). Its appraisal was determined as of August 16, 2019, and has previously
been provided to CoreFirst Bank as Bond Trustee of the Series 2011A Bonds. The appraisal has,
upon information and belief, been shared with key bondholders. A copy of the appraisal has
been filed of record with the Clerk of the United States Bankruptcy Court and is available for
inspection by the parties.

The legal description of the Southwest Topeka Facility is as follows, to-wit:

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Southbrook Sub. No. 3, Block A, Lot 1, Lot 1 Block A Southbrook Sub #3
& Part of Lot 2, Block A, beginning at the Southwest corner of Lot 2,
thence East 472.53’, Northwesterly 64.6’, West 423.92 feet, South 43.97’
to the point of beginning, Section 16, Township 12, Range 15 of Shawnee
County, Kansas,

The Valbridge appraisal contained four comparative facilities to determine value the
Topeka Y:

a. A YMCA building in Raytown, Missouri consisting of 45,600 square feet
that sold in 2016 for $2,605,000.00;

b. A YMCA facility in Mishawaka, Indiana consisting of 37,344 square feet
that sold in May, 2015, for $650,000.00;

C. A for-profit facility located at 6700 West 110" Street, Overland Park,
Kansas that sold to Genesis Healthclubs of Overland Park LLC in March 2015. This
property had a sale price of $6,300,000.00 and consisted of 115,348 square feet;

d. A YMCA in Saukville, Wisconsin that consisted of 50,000 square feet and
sold in October, 2014 for $2,000,000.00.

The Saukville, Wisconsin property was sold in a Chapter 11 bankruptcy liquidation and it
was noted that the property was in need of significant remedial maintenance due to deferred
rehab and maintenance over years. Post-closing, more than $1,000,000.00 was spent on the
Saukville facility to renovate and cure the deferred maintenance issues, replace the roof,
refurbish the pool and provide for new air conditioning units.

Thus, there are significant comparables to support the valuation of the Southwest Topeka
Y facility of $1,635,000.00.

22.4 Current Rate Structure

The Topeka Y contains a basketball court, an indoor pool, daycare services, an indoor
track, workout facilities, aerobic facilities, and provides youth sports teams and youth summer
and after school camps. Fees range from $18.00 to $58.00 per month. For adults the monthly
fee is $38.00 and $34.00 for those sixty (60) and over. Family rates begin at $58.00 per month,
which covers two parents and all dependents under the age of twenty (20).

As a not-for-profit organization, the Topeka Y has historically offered financial
assistance to members who qualify, which could drop the monthly fees down to $5,00 or less per
month for a full membership.

22.5 Actions and Activities Subsequent to the Filing of the Bankruptcy

This bankruptcy case was filed on May 21, 2020. Complete bankruptcy schedules were

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filed at that time. The Debtor has undertaken certain activities at the outset of the case,
including:

a. The engagement of Hinkle Law Firm LLC (“Hinkle”) as its counsel;

b. The Motion to assume the National YMCA executory contract consisting
of the Constitute of the National Counsel of The Young Men’s Christian Associations of
the United States of America, the Bylaws of the National Counsel of The Young Men’s
Christian Association, together with the legislative history and bylaws, thus providing a
license to use certain trademarks, names, and a designation as a rostered association of
the YMCA of the United States;

c. The Motion to maintain current cash management systems;

d. The Motion to pay the “stub” period pre-petition wages of employees;

e. The Motion to offer adequate assurances and security deposits to utility
companies;

f. The Motion for adequate protection to the Bond Trustee under 11 U.S.C.

§361 and 11 U.S.C. §363(e). This adequate protection Motion asserted that the Series
2011A Bonds were a disguised financing transaction, and thus adequate protection
needed to be offered to the bondholders. An adequate protection payment of $9,646.00
per month was proposed to be paid. This was approved by the Bankruptcy Court and the
Debtor commenced such payments in June, 2020. The $9,646.00 monthly sum
constituted an approximate amortization of the valuation of $1,635,000.00, over a 25-
year duration at 5.00% per year;

g. The Motion for payment of critical vendors;

h, The Motion bar date of submission of claims. The bar date for creditors
has been established as of July 31, 2020, prior to the expiration of the 90-day period for
the submission of the Debtor’s Plan under 11 U.S.C. §1189(b). As of June 24, 2020, only
one claim has been filed, the claim of Evergy Kansas Central, Inc., fka Westar Energy in
the amount of $2,896.04. This claim has subsequently been paid by the Debtor under the
Order entered under 11 U.S.C. §366. An objection to the claim will be filed by the
Debtor.

In the bankruptcy case the Debtor has listed the following creditors as liquidated and/or
non-contingent:

a. CoreFirst Bank & Trust as the Series 2011A Bond Trustee, $1,635,000.00
secured and unsecured to the extent of $3,625,000.00;

b. Capitol Federal Savings Bank as an unsecured creditor under the CARES
Act or PPP Loan of $226,000.00;

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C. West Bend Mutual Insurance Company in the sum of $3,249.18,
subsequently paid under the critical vendor Order;

d. Inland Waste Solutions in the sum of $294.29;

e. Sunflower Rental in the sum of $560.00;
f, Continental Research Corp. in the sum of $235.61.
ARTICLE 23

CASH AND BANK RESERVES

The Debtor holds monies in specially earmarked accounts. On the Debtor’s balance sheet
there are certain restricted accounts to which the Debtor is entitled to annual distributions. While
the total amount of the restricted funds is identified, the Debtor has limited ability to receive
funds. Independent trustees or fiduciaries exist that transfer annual contributions to the Debtor in
accordance with the donor’s wishes. These annual contributions are shown on the projected cash
flow of the Debtor, and thus are not included in the Liquidation Analysis.

The Debtor further maintains certain earmarked accounts of which it does have control.
These earmarked accounts include the following:

Account Amount on Balance on
Schedules June 30, 2020
Capitol Federal Programs Account $ 6,262.12 $ 6,262.12
Capitol Federal Operating Account $ 67,540.82 $ 75,000.00 (est)
Capitol Federal Deferred Maintenance Account $178,339.70 $142,771.39
Capitol Federal COVID-19 PPP Loan Account $159,193.61 $ 31,010.75
Capitol Federal Keuhne Branch Account $ 0.00 $ 0.00
Capitol Federal Southwest Branch Account $ 0.00 $ 0.00
Capitol Federal Camp Hammond CD #***5806 $ 0.00 $ 0.00
Capitol Federal Camp Hammond CD #***4557. $$: 25,261.71 $ 25,458.45
Capitol Federal Camp Hammond CD#***8306 $101,820.40 $103,204.10
Capitol Federal DTI&N CD#***8446 $ 0,00 $ 0,00
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Capitol Federal DT&N CD#***8133 $ 50,795.95 $ 51,417.87

Capitol Federal DI&N CD#***9071 $ 0.00 $ 0.00
Capitol Federal DT&N CD#***7820 $ 50,759.95 $ 51,417.87
Oppenheimer & Co., Inc. Mutual Funds ***3240 $89,411.23 $ 97,001.70

The Debtor proposes to earmark the Deferred Maintenance Account for capital
expenditures necessary, including roof replacement, parking lot refurbishment and_ air
conditioning refurbishment. The Debtor has obtained estimates of $117,550.00 for roof
replacement, $71,448.50 for parking lot refurbishment and $84,435.00 for air conditioning
refurbishment. This will be a form of additional adequate protection and compensation to the
bondholders in safeguarding the facility that is subject to their interest.

The Debtor proposes that the COVID-19 PPP Loan account be earmarked for operating
expenses as the utilization of it has been set forth in the projected cash flow of the Debtor, and
thus is unavailable for distribution to pre-petition creditors.

The Debtor proposes that the proceeds of the Camp Hammond Certificate of Deposit
#8306 and the Oppenheimer account in the sum of $97,001.70 be distributed over the 3-year
period of the Plan to allowed administrative claims and unsecured creditors. As the Debtor’s
Plan proposes to satisfy in full all deminimis creditors (as defined below), these funds will
ultimately be distributed as a supplemental distribution to bondholders on their deficiency claim
as the only remaining unsecured creditor after payment of allowed administrative claims.

The Bond Reserve Fund and PI Funds are utilized at the discretion of the Bond Trustee,
and are thus not available. Presumably they will either be maintained or distributed at the
discretionary standard set forth in the bond documents.

The Oppenheimer Mutual Funds account are unrestricted funds, but will be earmarked
for capital expenditures and repairs outlined below.

Payments will be made consistent with the cash flow attached hereto as Exhibit B
(amortized out).

ARTICLE 24
ADDITIONAL CAPITAL EXPENDITURES

Management has obtained estimates of $84,735.00 for new HVAC units. There are
currently four HVAC units, two of them were scheduled to be replaced in the summer of 2020.

Further, management believes that $150,000.00 is necessary in pool repairs and
upgrading. The pool heaters and pumps are over twenty (20) years old and much of the fixtures
and galvanized plumbing are still original. Management estimates that major motors, pumps and
seals will need to be replaced in the near term. The estimate of repair expense through the end of

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2020 is $45,000.00. The balance of the Oppenheimer account will be utilized towards the pool
and locker room repairs and refurbishment.

The lockers for storage in the locker room will additionally need to be replaced. The
thought is to replace the outer doors of the existing locker rooms to avoid the cost of total
refurbishment. The total locker room repairs are estimated to be $43,000.00, including new
shower hardware.

Fitness equipment is also outdated, much of which is the original equipment.
Management believes it is critical to replace the circuit training equipment within the next year.
StarTrack has made a bid for $14,000.00. This equipment would be consistent with the existing
equipment, plus we have trusted service personnel for repairs. The cost is in line with national
YUSA pricing. Treadmills are currently being replaced at the rate of four a year with an
estimated cost of $19,000.00.

Finally, exterior lighting will need to be reviewed before the winter months of 2020.
Management believes they can keep this expense under $5,000.00.

Outstanding estimates of current capital expenditure work needs are attached hereto as
Exhibit C.

ARTICLE 25
LIQUIDATION ANALYSIS

It is the Debtor’s intent to carmark the Capitol Federal Deferred Maintenance Account,
the Capitol Federal Camp Hammond CD #***4557, Capitol Federal DT&N CD#***8133 and
Capitol Federal DT&N CD#***7820 for utilization as a funding source for the capital
expenditures, together with the Oppenheimer & Co., Inc. Mutual Funds Account. A total of
approximately $271,065.56 will be earmarked for capital expenditures to refurbish the property.
The total current capital expenditures needs total $273,433.50.

Thus, the total dollars allocated to the Liquidation Analysis will be from the following
sums:

Asset Balance Balance
on Schedules as of 06.30.20
Cash on hand $ 300.00 $ 367.00
Capitol Federal Programs Acct $ 6,262.12 $ 6,262.12
Capitol Federal Operating Acct $ 67,540.82 $ 75,000.00 (est)
Accounts Receivable $ 50,546.94 $ 50,546.94
1998 Ford E-350 short limo bus $ 3,500.00 $ 3,500.00
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1998 Bluebird flat nose school bus $ 5,500.00 $ 5,500.00

2017 Doolittle trailer $ 3,000.00 $ 3,000.00
2015 Buckdandy double axle flat trailer $ 2,000.00 $ 2,000.00
w/ramp

Exercise equipment and accessories $111,950.00 $111,950.00
Mower, yard equipment, appliances, | $ 18,650.00 $ 18,650.00

televisions and projectors

The total value as of unsecured assets is the sum of $274,776.06. This sum will be
earmarked to be distributed over the 3-year prior of the Plan to the bondholders and shall be the
minimum account distributed to allowed administrative claims and unsecured creditors over the
life of the Plan. In the event the Debtor’s projected disposable income is greater than this sum
($274,776.06), the administrative claimants and unsecured creditors shall receive the amount of
disposable income projected.

It is anticipated that the deminimis creditors with claims of less than $1,500.00 will be
paid in full at confirmation by the Debtor. Thus, the only distribution to be made by the Trustee
will be to the Bond Trustee. These distributions will be of two components: 1) the secured
claim of the bondholders in the sum of $1,635,000.00; and 2) a minimum distribution of
$274,776.06 over three (3) years as the minimum required under the Liquidation Analysis. No
interest will be paid on the unsecured portion of the claim.

ARTICLE 26
MANAGEMENT

The President and CEO of the Topeka Y is John Mugler. Mr. Mugler has served in this
capacity since November, 2014. The unpaid Board of Directors consists of thirteen (13)
members of the Topeka community. There is an Executive Committee of three (3) members.
The general overall Board membership, including emeritus members, is seventeen (17) in
number.

Additionally, there are approximately twelve (12) full-time employees, four (4) for the
Southwest Topeka Facility and eight (8) at the childcare locations. There are 149 part-time
employees, 108 at the Southwest Topeka Facility, including janitorial, lifeguards, fitness class
instructors, 41 at the childcare locations, including prime time, daycare, summer camp and Kids
Club.

ARTICLE 27
CURRENT MEMBERSHIP

The Topeka Y defines membership in “Units” which define a paying member. In
January, 2017, the Southwest Topeka Facility had 2,730 Units. Immediately after a new gym

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opened in the area (3.1 miles away) 200 Units were lost.

In January, 2020, the Southwest Topeka Facility had 2,536 Units. Planet Fitness opened
its first site in Topeka (2.7 miles away) and it is estimated that 52 Units have been lost. In early
March, 2020, Crush opened a facility at the corner of 29" and Topeka Blvd. The impact of this
new location has not been determined.

The current membership is 2,496 Units. The Topeka Y is optimistic that it can stay
above 2,400 for the remainder of the year. Many of these members are often subsidized. The
Topeka Y, therefore, has members that do not have the funds to pay and attend another for-profit
gym. The for-profit gyms generally draft bank accounts monthly and do not send bills.
Therefore, the Topeka Y members are generally more fiscally constrained than the for-profit
facilities. Thus, the for-profit clubs have been “cherry picking” the more affluent members of
the Topeka Y.

ARTICLE 28
ATTRIBUTES AND TAX CONSEQUENCES

The discussions set forth above are for general information only. The Topeka Y, its
counsel and accountants are not making any representations concerning the particular tax
consequences of this restructure with respect to the Topeka Y or the bondholders, nor are they
rendering any form of legal opinion or tax advice on any such tax consequences. Applicable tax
law for non-for-profit corporations is complex and the following summary is not contended to be
exhausted. The bondholders are urged to consult independent tax advisors regarding the tax
consequences of a restructure.

ARTICLE 29
LITIGATION

The Topeka Y was not involved in any litigation prior to this Plan. It’s Foundation has
been named in a recent Shawnee County District Court case involving a personal injury accident.
The matter has been referred to the insurance carrier for coverage and legal defense. Because it
was a separate entity, the Foundation, the bankruptcy stay or injunction under 11 U.S.C. §362
was not impacted.

ARTICLE 30
ALTERNATIVES

The Topeka Y sought to avoid filing a Chapter 11 proceeding to implement its proposed
restructure of the bond indebtedness. The Topeka Y wished to avoid that consequence due to the
expense involved for the bondholders, Bond Trustee and the Topeka Y. Potential attorneys’ fees
for the Topeka Y may be up to $100,000.00 if prolonged bankruptcy litigation would continue.
The Topeka Y was concerned about declining revenue that might exist if it were in a prolonged
Chapter 11 proceeding due to negative publicity. Because of the requirement of one hundred
percent (100%) bondholder acceptance of a restructure of the Series 2011A Bonds, this
bankruptcy was inevitable.

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In addition, the collateral or assets available for the bondholders have limited adaptive
reuse. The building is in need of significant roof refurbishment (in excess of normal and
customary roof repairs), In additional, capital expenditures will be necessary to implement new
or more modern equipment.

The Southwest Topeka Facility is approximately twenty (20) years old and there has
been, in recent years, deferred maintenance that has occurred because of declining revenue and
the lack of available disposable revenue for such improvements.

When the Southwest Topeka Facility was constructed, the location of it was thought to be
in a growing residential community. It was anticipated that the city would expand with new
subdivisions to the south of the Topeka Y. Regrettably, that event has not occurred. The Topeka
Y, therefore, does not have an advantageous geographical location for citywide participation and
is, at best, a neighborhood facility.

There are, thus, limited alternatives available for use of the Southwest, Topeka Facility.
Larger corporate businesses have developed in Topeka within the last five (5S) years that have
their own facilities. It is unlikely that they would not be interested in the Southwest Topeka
Facility, as its model does not confirm with the business model of these for-profit facilities.

There are, therefore, limited third party options for the Southwest Topeka Facility due to
limited adaptive reuse or few third party purchasers in its current physical condition and current
configuration.

ARTICLE 31
GENERAL PROVISIONS

31.1 Headings for Convenience Only

The headings in the Plan are for convenience of reference only and will not limit or
otherwise affect the meanings thereof.

31.2 Notices

Any notice required or permitted to be provided under the Plan will be in writing and
served by either: (i) certified mail, return receipt requested, postage prepaid; (ii) hand delivery;
or (iii) reputable overnight delivery service, freight prepaid, with copies to the following parties
and as may otherwise be set forth in the Plan:

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The Debtor:

Edward J. Nazar

Hinkle Law Firm LLC

1617 North Waterfront Parkway, Suite 400
Wichita, KS 67206-6639

Telephone: 316.267.2000

Facsimile: 316.264.1518

Email: enazar(@hinklaw.com
Counsel for the Debtor

The Trustee:

Rob Messerli

6917 Tomahawk Road

Prairie Village, KS 66208-2618
Telephone: 913.662.3524

Email: rob.messerli@gunrockvp.com

 

The Bond Trustee:

R. Patrick Riordan

Riordan Fincher & Beckerman, P.A.

3735 SW Wanamaker Road, Suite A

Topeka, KS 66610-1396

Telephone: 785.783.8323

Facsimile: 785.783.8327

Email: riordan@frb-lawfirm.com
Counsel for Bond Trustee

 

31.3. Governing Law

Except to the extent that the Bankruptcy Code is applicable, supersedes or pre-empts state
law, the rights and obligations arising under this Plan and any documents, agreements and
instruments executed in connection with this Plan (except to the extent such documents,
agreement and instruments designate otherwise) shall be governed by and construed and
enforced in accordance with the law of the State of Kansas.

31.4 Environmental Claims

The Debtor is not aware of any liabilities, claims or obligations due and owing to the
Environmental Protection Agency or to the Kansas Department of Health and Environment.
Unless any such claim by any of the above and foregoing agencies or governmental
organizations have been filed on or before the bar date and/or administrative bar date, whichever
is applicable, and subsequently allowed, such entities shall be forever barred from participation
in the distribution of any dividends in this proceeding.

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31.5 Tax Claims

Neither the Debtor, nor its professionals, have undertaken any analysis of the tax results
on these Plan provisions and the impact upon the Debtor or creditor.

31.6 Certified Audit

The information contained in this Plan and the attached exhibits have not been subject to
a certified audit, except as may be subsequently disclosed in any exhibit. Due to the complexity
of Debtor’s financial matters, the Debtor is unable to warrant that the information contained
herein is without inaccuracy, although an effort has been made to be as accurate as possible. The
statements contained herein are made as of the date presented, unless another date is specifically
referenced and delivery of this Plan does not imply that there have been no changes in
information set forth herein since the date hereof.

31.7 Representation of Debtor

 

Hinkle commenced representation of the Topeka Y in mid-2019 to assist in its restructure
efforts. Hinkle relied upon information provided to it by the Debtor in connection with the
preparation of this Plan. Hinkle had no involvement with the Debtor, or its members, prior to the
engagement concerning the restructure and bankruptcy.

31.8 Forward Looking Statements and Projections

Any forward-looking statements contained herein are based largely on the expectation of
the management of the Debtor and projections about future events affecting the financial
condition of the Debtor. Any use of the words “belief,” “may,” “will,” “estimate,” “continue,”
“anticipate,” “intend,” “expect,” and similar expressions identify these forward-looking
statements. These forward-looking statements are subject to a number of risks, uncertainties and
assumptions. In light of these risks and uncertainties, the forward-looking events and
circumstances discussed in this Plan may not occur and actual results could differ materially
from those forecasted or anticipated in the forward-looking statements. Neither the Debtor, nor
its counsel will undertake any obligation to publicly update or revise any forward-looking
statements, whether as a result of new information, future events or otherwise.

ARTICLE 32
LAPSED DISTRIBUTIONS

Any distribution that has not cleared within ninety (90) days of the date of the
distribution will lapse. With respect to any lapsed distributions, the lapsed distribution will
revert to the Debtor or the Trustee, as the case may be, and be distributed pro rata to the
remaining unsecured creditors in accordance with the Plan.

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ARTICLE 33
UNDELIVERABLE AND UNCLAIMED DISTRIBUTIONS

If any distribution is returned as undeliverable, no further distributions to such creditor .
will be made unless the Debtor and the Trustee are notified in writing of the creditor’s current
address. Upon receipt of the notification, the Debtor will remit all missed distributions to the
creditor without interest. All claims for undeliverable distributions must be made on or before
the first anniversary of the date of the first distribution check to such creditor. Ifa claim 1s not
made within that time, all unclaimed distributions will revert to the Debtor and be distributed pro
rata to the remaining creditors. Nothing in the Plan will require the Debtor and Trustee to
attempt to locate any holder of an allowed claim.

ARTICLE 34
RETENTION OF JURISDICTION

34.1 Purposes

Notwithstanding entry of the confirmation order, the Court shall retain jurisdiction over
the Chapter 11 case for the following purposes including, but not limited to the following:

a. To determine any and all objections to the allowance of claims or
interests, both before and after the confirmation date, including any objections to the
classification of any claim or interest. The failure by the Debtor or Trustee to object to
any claim prior to confirmation of this Plan shall not be deemed to be a waiver of the
Debtor’s or Trustee’s right to object to or examine the claim and holder post-
confirmation under the deadlines set forth herein;

b, To determine any and all fee applications and other applications for other
fees and expenses authorized to be paid or reimbursed in accordance with the Bankruptcy
Code or the Plan;

c. To determine any and all pending applications for the assumption or
rejection of executory contracts or for the rejection or assumption and assignment, as the
case may be, of unexpired leases to which the Debtor is a party or with respect to which it
may be liable;

d. To hear and determine any actions to void or terminate unexpired
contracts or leases; and to hear and determine and, if need be, to liquidate any and all
claims arising therefrom;

e, To hear and determine any and all actions initiated by the Debtor or its
counsel whether by motion, complaint or otherwise; to determine any and all questions or
disputes regarding title to the assets of the estate, and to determine all causes of action,
controversies, disputes or conflict, whether or not subject to any action pending as to the
confirmation date, between the Debtor and any other party, including, without limitation,
any right of the Debtor to recover assets or sell assets pursuant to the provisions of Title

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34.2

11 of the Bankruptcy Code;

f, To determine any and all applications, motions, adversary proceedings and
contested or litigated matters whether pending before the Court on the confirmation date
or instituted after the confirmation date, including, without limitation, proceedings to
recover voidable or avoidable transfers, or proceedings by the Debtor;

g. To modify this Plan or any document created in connection with this Plan,
or remedy any defect or omission or reconcile any inconsistence in any order of the
Court, this Plan or any document created in connection with this Plan, in such manner as
may be necessary to carry out the purposes and effects of this Plan to the extent
authorized by the Bankruptcy Code, including any post-confirmation modification to the
Plan;

h. To ensure that the distribution is accomplished in accordance with the
provisions of this Plan;

i. To allow, disallow, determine, liquidate or estimate any claim or interest
and to enter or enforce any order requiring the filing of any such claim or interest before
a particular date;

j. To enter such orders as may be necessary to consummate, implement and
effectuate the operative provisions of this Plan and all documents and agreements
provided for herein or therein or executed pursuant hereto or thereto including, without
limitation, entering appropriate orders to protect the Debtor from creditor action;

k, To hear any other matter not inconsistent with Chapter 11 of the
Bankruptcy Code;
L To enter and implement such orders as may be appropriate in the event the

Confirmation Order is for any reason stayed, reversed, revoked or vacated;

m. To determine such other matters as may arise in connection with this Plan
or the Confirmation Order;

n. To enter an Order enforcing the injunction entered by this Court at
confirmation of this Plan, to enter any Order separately or in conjunction with any other
of confirmation of this Plan discharging the Debtor from any claim or debt and enjoining
any action from proceeding or being pursued against the Debtor, except as required by
the Debtor under the terms of this Plan;

O. To enter a Final Decree closing this Chapter 11 case.

Exclusive Jurisdiction

The Court shall have exclusive jurisdiction to resolve all controversies, suits and disputes

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that may arise in connection with the interpretation, enforcement, consummatians,
implementation or administration of this Plan and all entities shall be — enjoined from
commencing any legal or equitable action or proceeding with respect to such matters in any other
court administrative or regulatary body.

34.3 Abstention

I the Court abstains from exercising jurisdiction or is otherwise without jurisdiction over
any matter arising out of the Chapter 1} case, this provision shall have not effect upon and shall
not control, prohibit or limit the excreise of jurisdiction by any other court having competent
jurisdiction with respect to such matter,

THE YOUNG MEN’S CHRISTIAN
ASSOCIATION OF TOPEKA, KANSAS

 
  

John / Chief Executive Officer

RESPECTFULLY SUBMITTED:

HINKLE LAW FIRM LLC
4

  
 
  

_/s/idward J, Nazar
Edward J, Nazar, #09845
1617 North Waterfront Parkway, Suite 400
Wichita, KS 67206-6639
316.267.2000 / 316,.264/1518 fax
enazaranhinklaw.com

Attorney for Debtor

 
  

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EXHIBIT A(1)
PRIORITY CLAIMS

The priority claims consist of all priority claims of any pre-petition priority creditor who
may file an allowed claim prior to the date of confirmation. The Debtor has not scheduled any
priority creditors at this juncture.

To the extent post-petition administrative claims have or shall be unpaid in full, they
include the claim of the Hinkle Law Firm for unpaid attorneys’ fees. Hinkle Law Firm received
a pre-petition retainer of $50,000.00. Immediately prior to the filing of the bankruptcy, Hinkle
Law Firm paid in full its current pre-petition unpaid attorneys’ fees, leaving a balance disclosed
in the bankruptcy schedules of $38,860.00 for post-petition services. The law firm estimates an
additional payment, beyond the remaining retainer, in the estimated sum of $20,000.00.

Additional post-petition professional expenses will be incurred by the Debtor’s
accountants, Sink Gordon & Associates, for accounting services. This firm received a pre-
petition retainer of $10,000.00, in addition to having its current bill paid in full prior to the filing
of the bankruptcy. Additional accounting fees are estimated in the sum of $15,000.00.

Both professional organizations have asserted their disinterestedness,

Rob Messerli has been appointed the Subchapter V - Small Business Debtor Trustee. He
is to be compensated at an hourly rate as may be allowed by the Court. The ongoing Trustee fees

will be paid as an additional administrative expense from available funds as incurred over the life
of the Plan.

All other administrative expenses, including the accrued Trustee fees existing as of
confirmation, shall be paid upon approval of the Court from available cash resources within sixty
(60) days of confirmation.

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EXHIBIT A(2)
SECURED CREDITORS

The secured creditors consist of the claim of the Series 2011A bondholders represented
by CoreFirst Bank as Bond Trustee. CoreFirst Bank holds a lien upon the real estate assets of
the Debtor in the sum of $1,635,000.00. Upon issuance of the bonds in the year 2000,
equipment was also purchased from bond proceeds. However, that equipment has long since
passed its use life and is no longer operational. Therefore, no value is associated with equipment
as secured to CoreFirst Bank, The equipment valuation is contained in the Liquidation Analysis
as a supplemental payment to unsecured creditors, of which the Series 2011A bondholders are
the largest class. The secured payment to the bondholders is based upon a 25-year amortization
at 5% per annum on a secured valuation of $1,635,000.00. Monthly payments of $9,558.05 shall
be made commencing on the 1“ day of the month following confirmation (estimated as of
August 1, 2020).

The remainder of the bondholders’ claim shall be treated as an unsecured claim and paid
an amount represented on the Liquidation Analysis as the value of the unsecured assets.

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EXHIBIT A(3)
UNSECURED CLAIMS

The unsecured claims of the bankruptcy case consist of Capitol Federal Savings on the
unpaid, unforgiven portion of the CARES ACT PPP Loan obtained by the Debtor. The Debtor
will seek to have its loan forgiven under the regulations propounded by the Small Business
Administration for forgiveness of the loan. To the extent that any portion of the loan is not
forgiven and discharged by regulatory practice, it will participate as an unsecured creditor in this
case on a pro rata basis.

The additional unsecured creditor will be the Series 2011A bondholders.

The major creditors (the bondholders and Capitol Federal Bank) will receive a pro rata
portion of the greater of the Debtor’s disposable income, or the liquidation value of its unsecured
assets. Payment of the remaining unsecured claim of the Series 2011A bondholders will be
subordinate to the deminimis or minor unsecured creditors who have a claim of $1,500.00 or
less. It is the Debtor’s intention to satisfy in full the claims of small creditors. The Debtor
estimates that a total sum of approximately $10,000.00 will be utilized for the satisfaction of
these deminimis unsecured creditors with an unpaid pre-petition claim of $1,500.00 or less.

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EXHIBIT B
CASH FLOW

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Cash Flows Actual & Projection

Cash Flows From Operating Activities
Cash received from membership
Cash received from camps and classes

Cash received from daycare

Cash received from contributions
Cash received from building rental

Cash received from others
Cash paid to employees

Cash paid for operating activities
Net Cash Provided by (Used by) Operating Activities

Cash Flows From Investing Activities
Purchase and repair of capital assets
Cash paid for capital expenditure needs
Proceeds from sale of fixed assets
Change in certificates of deposit
Change in bond reserve accounts
Change in restricted investments
Net Cash Provided by (Used by) Investing Activities

Cash Flows From Financing Activities
Principal & interest paid on capital lease obligations - building
(combined P&I in August 2020)

Principal paid on capital lease obligations - equipment
Proceeds from SBA loan - forgivable
Proceeds from note payable - net debt reduction

Plan payments
Interest paid on debt

Net Cash Provided by (Used by) Financing Activities

Net Increase (Decrease) In Cash

Cash and Cash Equivalents, Beginning of Period

Cash and Cash Equivalents, End of Period

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June 30, 2018 July 31, 2018 August 31, 2018 September 30, 2018
$ 191,107 $ 175,909 § 162,321 $ 152,779
63,022 52,038 22,743 10,310
38,017 7,667 74,584 76,468
17,495 31,006 9,014 2,990
15,115 10,952 9,722 12,662
(174,894) (179,136) (159,186) (151,081)
(151,539) (69,714) (225,031) (110,534)
(1,677) 28,722 (105,833) (6,406)
- - 1 -
- 50,025 (291) 50,267
(50,641) (51,526) 376,695 (50,588)
1,315 16,584 1,223 1,861
(49,326) 15,083 377,628 1,540
- - (255,000) -
(3,967) (3,985) (4,007) (3,160)
- - 80,000 -
(108) (91) (173,562) (460)
(4,075) (4,076) (352,569) (3,620)
($5,078) 39,729 (80,774) (8,486)
197,132 142,054 181,783 101,009
$ 142,054 $ 181,783 §$ 101,009 $ 92,523
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Cash Flows Actual & Projection

 

 

 

 

 

 

 

 

October 31, 2018 November 30, 2018 December 31, 2018 January 31, 2019
Cash Flows From Operating Activities
Cash received from membership $ 134,288 $ 135,723 $ 48,101 §$ 135,065
Cash received from camps and classes 7,223 (37,967) 2,071 4,260
Cash received from daycare 79,622 160,984 69,327 61,702
Cash reecived from contributions 2,293 26,470 9,106 -
Cash received from building rental - 25,849 910 2,210
Cash received from others 15,514 (5,700) 33,392 3,814
Cash paid to employees (146,189) (64,356) (161,227) (109,327)
Cash paid for operating activities (146,962) (194,213) (23,252) (91,116)
Net Cash Provided by (Used by) Operating Activities (54,211) 46,790 (21,572) 6,608
Cash Flows From Investing Activities
Purchase and repair of capital assets - - (970) -
Cash paid for capital expenditure needs
Praceeds from sale of fixed assets 598,195 - - -
Change in certificates of deposit - (10) (300,720) (38)
Change in bond reserve accounts (50,012) (50,315) (49,658) (50,597)
Change in restricted investments 16,285 (67,408) 5,898 1,528
Net Cash Provided by (Used by) Investing Activities 564,468 (117,733) (345,450) (49,107)
Cash Flows From Financing Activities
Principal & interest paid on capital lease obligations - building
(combined P&I in August 2020) (80,000) - - -
Principal paid on capital lease obligations - equipment (3,173) - - -
Proceeds from SBA !oan - forgivable - - - -
Proceeds from note payable - net debt reduction - - - -
Plan payments - - - -
Interest paid on debt (364) - - -
Net Cash Provided by (Used by) Financing Activities (83,537) : - -
Net Increase (Decrease) In Cash 426,720 (70,943) (367,022) (42,499)
Cash and Cash Equivalents, Beginning of Period 92,523 519,243 448,300 81,278
Cash and Cash Equivalents, End of Period $ 519,243 §$ 448,300 $ 81,278 § 38,779

 

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Cash Flows Actual & Projection

 

Cash Flows From Operating Activities
Cash received from membership $
Cash received from camps and classes
Cash received from daycare
Cash received from contributions
Cash received from building rental
Cash received from others
Cash paid to employces
Cash paid for operating activities

 

Net Cash Provided by (Used by) Operating Activities

 

Cash Flows From Investing Activities
Purchase and repair of capital assets
Cash paid for capital expenditure needs
Proceeds from sale of fixed assets
Change in certificates of deposit
Change in bond reserve accounts
Change in restricted investments

 

Net Cash Provided by (Used by) Investing Activities

 

Cash Flows From Financing Activities
Principal & interest paid on capital lease obligations - building
(combined P&I in August 2020)
Principal paid on capital lease obligations - equipment
Proceeds from SBA loan - forgivable
Proceeds from note payable - net debt reduction
Plan payments

 

Interest paid on debt
Net Cash Provided by (Used by) Financing Activities

 

Net Increase (Decrease) In Cash

Cash and Cash Equivalents, Beginning of Period

 

February 28, 2019 March 31, 2019 April 30, 2019 May 31, 2019
116,592 120,021 $ 91,140 95,073
3,488 6,028 12,750 10,607
55,451 $3,097 64,179 54,402
180 19 107 161,920
1,160 1,860 1,931 660
103 5,668 6,378 5,309
(100,992) (89,516) (98,586) (104,046)
(49,709) (84,109) (51,074) (55,515)
26273 13,068 26,825 168,410
- - (1) l
(1,690) 118,052 (1,570) (50,594)
1,690 1,602 1,570 1,524
: 119,654 a) (49,069)
- (168,012) - .
- (168,012) - -
26,273 (35,290) 26,824 119,341
38,779 65,052 29,762 56,586
65,052 29,762 $ 56,586 175,927

Cash and Cash Equivalents, End of Period $

 

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Cash Flows Actual & Projection

Cash Flows From Operating Activities
Cash received from membership
Cash received from camps and classes
Cash received from daycare
Cash received from contributions
Cash received from building rental
Cash received from others
Cash paid to employees
Cash paid for operating activities
Net Cash Provided by (Used by) Operating Activities

Cash Flows From Investing Activities
Purchase and repair of capital assets
Cash paid for capital expenditure needs
Proceeds from sale of fixed assets
Change in certificates of deposit
Change in bond reserve accounts
Change in restricted investments
Net Cash Provided by (Used by) Investing Activities

Cash Flows From Financing Activities
Principal & interest paid on capital lease obligations - building
(combined P&I in August 2020)
Principal paid on capital lease obligations - equipment
Proceeds from SBA loan - forgivable
Proceeds from note payable - net debt reduction
Plan payments
Interest paid on debt
Net Cash Provided by (Used by) Financing Activities

Net Increase (Decrease) In Cash
Cash and Cash Equivalents, Beginning of Period

Cash and Cash Equivalents, End of Period

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June 30, 2019 July 31, 2019 August 31, 2019 September 30, 2019
64,898 61,448 99,130 $ 89,943
61,306 64,277 2,538 (5,636)
25,324 28,557 $5,087 49,627
13,388 35,808 20,244 S49

210 810 1,041 560
3,932 1,350 1,942 2,544
(115,429) (112,666) (108,684) (95,890)
(76,015) (65,045) (109,456) (50,714)
(22,386) 14,539 (38,158) (9,017)
(9,440) (529) - (1)
(2,442) 200,482 - (1,043)
(884) (1,589) 431,334 (691)
4,076 1,704 1,642 2,483
(8,690) 200,068 432,976 748
- - (265,000) -

~ - (167,975) -

- - (432,975) -
(31,076) 214,607 (38,157) (8,269)
175,927 144,851 359,458 321,301
144,851 359,458 321,301 $§$ 313,032

 

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Cash Flows Actual & Projection

Cash Flows From Operating Activities
Cash received from membership
Cash received from camps and classes
Cash received trom daycare
Cash received from contributions
Cash received from building rental
Cash received from others
Cash paid to employees
Cash paid for operating activities
Net Cash Provided by (Used by) Operating Activities

Cash Flows From Investing Activities
Purchase and repair of capital assets
Cash paid for capital expenditure needs
Proceeds from sale of fixed assets
Change in certificates of deposit
Change in bond reserve accounts
Change in restricted investments
Net Cash Provided by (Used by) Investing Activities

Cash Flows From Financing Activities

Principal & interest paid on capital lease obligations - building

(combined P&I in August 2020)
Principal paid on capital lease obligations - equipment
Proceeds from SBA loan - forgivable
Proceeds from note payable - net debt reduction
Plan payments
Interest paid on debt
Net Cash Provided by (Used by) Financing Activities

Net Increase (Decrease) In Cash
Cash and Cash Equivalents, Beginning of Period

Cash and Cash Equivalents, End of Period

 

 

 

 

 

 

 

 

October 31, 2019 November 30, 2019 December 31, 2019 January 31, 2020

$ 85,657 $ 96,322 86,849 86,300
1,575 3,547 1,948 3,332

55,097 29,274 41,127 46,012

14,001 1,831 4,079 17,281

1,750 635 1,410 1,660

6,071 190 5,475 21,923
(87,469) (98,796) (83,372) (78,773)
(74,124) (76,034) (71,942) (61,239)

2,558 (43,031) (14,426) 36,496

- (5,495) - -

768 - (1,043) -

(717) (657) (562) -

NT 658 4,382 -

768 (5,494) 2,777 -

- - 1,660 -

- - 1,660 -

3,326 (48,525) (9,989) 36,496

313,032 316,358 267,833 257,844

$ 316,358 §$ 267,833 257,844 294,340

 

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Cash Flows Actual & Projection

Cash Flows From Operating Activities
Cash received from membership
Cash received from camps and classes
Cash received from daycare
Cash received from contributions
Cash received from building rental
Cash received from others
Cash paid to employees
Cash paid for operating activities
Net Cash Provided by (Used by) Operating Activities

Cash Flows From Investing Activities
Purchase and repair of capital assets
Cash paid for capital expenditure needs
Proceeds from sale of fixed assets
Change in certificates of deposit
Change in bond reserve accounts
Change in restricted investments
Net Cash Provided by (Used by) Investing Activities

Cash Flows From Financing Activities

Principal & interest paid on capital lease obligations - building

(combined P&I in August 2020)
Principal paid on capital lease obligations - equipment
Proceeds trom SBA loan - forgivable
Proceeds from note payable - net debt reduction
Plan payments
Interest paid on debt
Net Cash Provided by (Used by) Financing Activities

Net Increase (Decrease) In Cash
Cash and Cash Equivalents, Beginning of Period

Cash and Cash Equivalents, End of Period

 

 

 

 

 

 

 

 

February 28, 2020 March 31, 2020 April 30, 2020 May 31, 2020
89,499 § 74,239 56,311 § 62,821
2,490 4,329 - (1,331)
43,183 35,839 972 19,593
351 2,736 16,065 82,778
2,185 1,974 (100) -
191 2,941 1,199 2,730
(92,736) (89,118) (50,049) (56,906)
(62,532) (57,382) (91,174) (110,531)
(17,369) (24,442) (66,776) (846)
- - - 1
- - - (930)
(1,136) 162,244 - -
1,137 5,290 - 930
1 167,534 - 1
- (162,013) - (10,000)
. - 226,000 -
(162,013) 226,000 (10,000)
(17,368) (18,921) 159,224 (10,845)
294,340 276,972 258,051 ANT275
276,972 $ 258,051 417,275 $ 406,430

 

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Cash Flows Actual & Projection

Cash Flows From Operating Activities
Cash received from membership
Cash received from camps and classes
Cash received from daycare
Cash received from contributions
Cash received from building rental
Cash received from others
Cash paid to employees
Cash paid for operating activities
Net Cash Provided by (Used by) Operating Activities

Cash Flows From Investing Activities
Purchase and repair of capital assets
Cash paid for capital expenditure needs
Proceeds from sale of fixed assets
Change in certificates of deposit
Change in bond reserve accounts
Change in restricted investments
Net Cash Provided by (Used by) Investing Activities

Cash Flows From Financing Activities
Principal & interest paid on capital lease obligations - building
(combined P&I in August 2020)
Principal paid on capital lease obligations - equipment
Proceeds from SBA loan - forgivable
Proceeds trom note payable - net debt reduction
Plan payments
Interest paid on debt
Net Cash Provided by (Used by) Financing Activities

Net Increase (Decrease) In Cash
Cash and Cash Equivatents, Beginning of Period

Cash and Cash Equivalents, End of Period

Case 20-20786

 

 

 

 

 

 

 

 

June 30, 2020 July 31, 2020 August 31, 2020 September 30, 2020
65,388 $ 33,547 $ 49,900 $ 69,900
23,542 75,000 2,000 500

7,934 20,736 40,000 40,000
884 29,288 12,000 52,000

100 1,000 1,000 1,000

49 10,025 10,025 10,025
(70,531) (72,564) (73,965) (73,965)
(46,113) (36,879) (40,280) (55,560)
(18,747) 60,153 680 43,900
~ (15,280) (15,280) (15,280)

(923) 1,853 - 25,350
(336) 336 - -
1,259 7,591 - .

- (5,500) (15,280) 10,070
(9,646) - (9,558) (9,558)

- (7,640) (7,640) (7,640)
(9,646) (7,640) (17,198) (17,198)
(28,393) 47,013 (31,798) 36,772
406,430 378,037 425,050 393,252
378,037 $ 425,050 $ 393,252 § 430,024

 

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Cash Flows Actual & Projection

Cash Flows From Operating Activities
Cash received from membership
Cash received from camps and classes
Cash received from daycare
Cash received from contributions
Cash received from building rental
Cash received from others
Cash paid to employees
Cash paid for operating activities
Net Cash Provided by (Used by) Operating Activities

Cash Flows From Investing Activities
Purchase and repair of capital assets
Cash paid for capital expenditure needs
Proceeds from sale of fixed assets
Change in certificates of deposit
Change in bond reserve accounts
Change in restricted investments
Net Cash Provided by (Used by) Investing Activities

Cash Flows From Financing Activities
Principal & interest paid on capital lease obligations - building
(combined P&I in August 2020)
Principal paid on capital lease obligations - equipment
Proceeds from SBA loan - forgivable
Proceeds from note payable ~ net debt reduction
Plan payments
Interest paid on debt
Net Cash Provided by (Used by) Financing Activities

Net Increase (Decrease) In Cash
Cash and Cash Equivalents, Beginning of Period

Cash and Cash Equivalents, End of Period

Case 20-20786

 

 

 

 

 

 

 

 

October 31, 2020 November 30, 2020 December 31, 2020 January 31, 2021
$ 69,900 $ 99,900 $§$ 59,900 $ 97,100
500 500 500 3,000
40,000 40,000 40,000 40,000
12,000 12,000 12,000 16,000
1,000 1,000 1,000 1,000
10,025 10,025 10,025 10,025
(73,965) (73,965) (73,965) (79,348)
(70,840) (86,120) (101,400) (45,000)
(11,380) 3,340 (51,940) 42,777
(15,280) (15,280) (15,280) (15,280)
- - 101,295 -
(15,280) (15,280) 86,015 (15,280)
(9,558) (9,558) (9,558) (9,558)
(27,640) (22,640) (22,640) (7,640)
(37,198) (32,198) (32,198) (17,198)
(63,858) (44,138) 1,877 10,299
430,024 366,166 322,028 323,905
$ 366,166 $ 322,028 $ 323,905 $ 334,204

 

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Cash Flows Actual & Projection

 

 

 

 

 

 

 

 

February 28, 2021 March 31, 2021 April 30, 2021 May 31, 2021
Cash Flows From Operating Activities
Cash received from membership $ 87,100 $§$ 87,100 §$ 87,100 $ 87,100
Cash received from camps and classes 3,000 5,000 10,000 10,000
Cash received from daycare 40,000 40,000 40,000 40,000
Cash received from contributions 16,000 16,000 16,000 16,000
Cash received from building rental 1,000 1,500 1,500 1,000
Cash received from others 10,025 10,025 10,025 10,025
Cash paid to employees (73,965) (73,965) (73,965) (73,965)
Cash paid for operating activities (50,000) (50,000) (50,000) (50,000)
Net Cash Proyided by (Used by) Operating Activities 33,160 35,660 40,660 40,160
Cash Flows From Inyesting Activities
Purchase and repair of capital assets - - - -
Cash paid for capital expenditure needs (15,280) (15,280) (15,280) (15,280)
Procceds from sale of fixed assets - - - -
Change in certificates of deposit - - - -
Change in bond reserve accounts - - - -
Change in restricted investments - - - -
Net Cash Provided by (Used by) Investing Activities (15,280) (15,280) (15,280) (15,280)
Cash Flows From Financing Activities
Principal & interest paid on capital lease obligations - building
(combined P&I in August 2020) (9,558) (9,558) (9,558) (9,558)
Principal paid on capital lease obligations - equipment - - - -
Proceeds from SBA loan - forgivable - - - -
Proceeds from note payable - net debt reduction - - - -
Plan payments (7,640) (7,640) (7,640) (7,640)
Interest paid on debt - - - -
Net Cash Provided by (Used by) Financing Activities (17,198) (17,198) (17,198) (17,198)
Net Increase (Decrease) In Cash 682 3,182 8,182 7,682
Cash and Cash Equivalents, Beginning of Period 334,204 334,886 338,068 346,250
Cash and Cash Equivalents, End of Period $ 334,886 §$ 338,068 $ 346,250 §$ 353,932

 

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Cash Flows Actual & Projection

Cash Flows From Operating Activities
Cash received from membership
Cash reccived from camps and classes
Cash received from daycare
Cash received from contributions
Cash received from building rental
Cash received from others
Cash paid to employees
Cash paid for operating activities
Net Cash Provided by (Used by) Operating Activities

Cash Flows From Investing Activities
Purchase and repair of capital assets
Cash paid for capital expenditure needs
Proceeds from sale of fixed assets
Change in certificates of deposit
Change in bond reserve accounts
Change in restricted investments
Net Cash Provided by (Used by) Investing Activities

Cash Flows From Financing Activities
Principal & interest paid on capital lease obligations - building
(combined P&I in August 2020)
Principal paid on capital lease obligations - equipment
Proceeds from SBA loan - forgivable
Proceeds from note payable - net debt reduction
Plan payments
Interest paid on debt
Net Cash Provided by (Used by) Financing Activities

Net Increase (Decrease) In Cash
Cash and Cash Equivalents, Beginning of Period

Cash and Cash Equivalents, End of Period

Case 20-20786

 

 

 

 

 

 

 

 

June 30, 2021 July 31, 2021 August 31, 2021 September 30, 2021
$ 85,600 $ 85,600 $ 87,100 $ 87,100
50,000 75,000 2,000 500
20,000 20,000 40,000 40,000
16,000 16,000 16,000 16,000
1,000 1,000 1,000 1,000
10,025 10,025 10,025 10,025
(90,112) (90,113) (73,965) (73,965)
(50,000) (50,000) (50,000) (40,000)
42.513 67,512 32,160 40,660
(15,280) (15,280) (15,280) (15,280)
(15,280) (15,280) (15,280) (15,280)
(9,558) (9,558) (9,558) (9,558)
(7,640) (7,640) (7,640) (7,640)
(17,198) (17,198) (17,198) (17,198)
10,035 35,034 G18) 8,182
353,932 363,967 399,001 398.683
$ 363,967 §$ 399,001 $ 398,683 §$ 406,865

 

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Cash Flows Actual & Projection

Cash Flows From Operating Activities
Cash received from membership
Cash received from camps and classes
Cash received from daycare
Cash reccived from contributions
Cash received from building rental
Cash received from others
Cash paid to employees
Cash paid for operating activities
Net Cash Provided by (Used by) Operating Activities

Cash Flows From Investing Activities
Purchase and repair of capital assets
Cash paid for capital expenditure needs
Proceeds from sale of fixed assets
Change in certificates of deposit
Change in bond reserve accounts
Change in restricted investments
Net Cash Provided by (Used by) Investing Activities

Cash Flows From Financing Activities

 

 

 

 

 

Principal & interest paid on capital lease obligations - building

(combined P&I in August 2020)
Principal paid on capital lease obligations - equipment
Proceeds from SBA loan - forgivable
Proceeds from note payable - net debt reduction
Plan payments
Interest paid on debt
Net Cash Provided by (Used by) Financing Activities

Net Increase (Decrease) In Cash
Cash and Cash Equivalents, Beginning of Period

Cash and Cash Equivaients, End of Period

Case 20-20786

 

 

 

October 31, 2021 November 30, 2021 December 31, 2021 January 31, 2022

$ 87,100 $§$ 87,100 §$ 87,100 $§$ 91,100
500 500 500 3,000

40,000 40,000 40,000 40,000

16,000 16,000 16,000 17,000

1,000 1,000 1,000 1,000

10,025 10,025 10,025 10,025
(73,965) (73,965) (73,965) (79,348)
(40,000) (40,000) (40,000) (45,000)

40,660 40,660 40,660 37,777
(15,280) (15,280) (15,280) (10,000)
(15,280) (15,280) (15,280) (10,000)

(9,558) (9,558) (9,558) (9,558)

(7,640) (7,640) (7,640) (7,640)

(17,198) (17,198) (17,198) (17,198)

8,182 8,182 8,182 10,579

406,865 415,047 423,229 431,411

$ 415,047. §$ 423,229 $§$ 4314ll $ 441,990

 

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Cash Flows Actual & Projection

Cash Flows From Operating Activities
Cash received from membership
Cash received from camps and classes
Cash received from daycare
Cash received from contributions
Cash received from building rental
Cash received from others
Cash paid to employees
Cash paid for operating activities
Net Cash Provided by (Used by) Operating Activities

Cash Flows From Investing Activities
Purchase and repair of capital assets
Cash paid for capital expenditure needs
Proceeds from sale of fixed assets
Change in certificates of deposit
Change in bond reserve accounts
Change in restricted investments
Net Cash Provided by (Used by) Investing Activities

Cash Flows From Financing Activities
Principal & interest paid on capital lease obligations - building
(combined P&1 in August 2020)
Principal paid on capital lease obligations - equipment
Proceeds from SBA loan - forgivable
Proceeds from note payable - net debt reduction
Plan payments
Interest paid on debt
Net Cash Provided by (Used by) Financing Activities

Net Increase (Decrease) In Cash
Cash and Cash Equivalents, Beginning of Period

Cash and Cash Equivalents, End of Period

Case 20-20786

 

 

 

 

 

 

 

 

February 28, 2022 March 31, 2022 April 30, 2022 May 31, 2022
$ 87,100 $ 87,100 $ 87,100 87,100
3,000 5,000 10,000 10,000
40,000 40,000 40,000 40,000
16,000 16,000 16,000 16,000
1,000 1,500 1,500 1,000
10,025 10,025 10,025 10,025
(84,730) (84,730) (84,730) (84,730)
(50,000) (50,000) (50,000) (50,000)
22,395 24,895 29,895 29,395
(10,000) (10,000) (10,000) (10,000)
(10,000) (10,000) (10,000) (10,000)
(9,558) (9,558) (9,558) (9,558)
(7,640) (7,640) (7,640) (7,640)
(17,198) (17,198) (17,198) (17,198)
(4,803) (2,303) 2,697 2,197
441,990 437,187 434,884 437,581
$ 437,187 $ 434,884 $ 437,581 439,778

 

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Cash Flows Actual & Projection

 

 

June 30, 2022 July 31, 2022 August 31, 2022 September 30, 2022
Cash Flows From Operating Activities
Cash received from membership $ 85,600 $ 85,600 §$ 87,100 $§$ 87,100
Cash received from camps and classes 50,000 75,000 2,000 $00"
Cash received from daycare 20,000 20,000 40,000 40,000
Cash received from contributions 16,000 16,000 16,000 16,000
Cash received from building rental 1,000 1,000 1,000 1,000
Cash received from others 10,025 10,025 10,025 10,025
Cash paid to employees (100,877) (100,878) (84,730) (84,730)
Cash paid for operating activities ($0,000) (50,000) (50,000) (40,000)
Net Cash Provided by (Used by) Operating Activities 31,748 56,747 21,395 29,895

 

Cash Flows From Investing Activities
Purchase and repair of capital assets - - - -
Cash paid for capital expenditure needs (10,000) (10,000) (10,000) (10,000)
Proceeds from sale of fixed assets - - - -
Change in certificates of deposit - - -
Change in bond reserve accounts - - -
Change in restricted investments - -

Net Cash Provided by (Used by) Investing Activities (10,000) (10,000) (10,000) (10,000)

Cash Flows From Financing Activities
Principal & interest paid on capital lease obligations - building
(combined P&] in August 2020) (9,558) (9,558) (9,558) (9,558)
Principal paid on capital Icase obligations - equipment - - - -
Proceeds from SBA loan - forgivable - - -
Proceeds from note payable - net debt reduction

 

 

 

Plan payments (7,640) (7,640) (7,640) (7,640)
Interest paid on debt - - - -
Net Cash Provided by (Used by) Financing Activities (17,198) (17,198) (17,198) (17,198)
Net Increase (Decrease) In Cash 4,550 29,549 (5,803) 2,697
Cash and Cash Equivalents, Beginning of Period 439,778 444 328 473,877 468,074
Cash and Cash Equivalents, End of Period $ 444,328 §$ 473,877 $ 468,074 $ 470,771

 

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Cash Flows Actual & Projection

Cash Flows From Operating Activities
Cash received from membership
Cash received from camps and classes
Cash received from daycare
Cash received from contributions
Cash received from building rental
Cash received from others
Cash paid to employees
Cash paid for operating activities
Net Cash Provided by (Used by) Operating Activities

Cash Flows From Investing Activities
Purchase and repair of capital assets
Cash paid for capital expenditure needs
Proceeds from sale of fixed assets
Change in certificates of deposit
Change in bond reserve accounts
Change in restricted investments
Net Cash Provided by (Used by) Investing Activities

Cash Flows From Financing Activities
Principal & interest paid on capital lease obligations - building
(combined P&] in August 2020)
Principal paid on capital lease obligations - equipment
Proceeds from SBA loan - forgivable
Proceeds from note payable - net debt reduction
Plan payments
Interest paid on debt
Net Cash Provided by (Used by) Financing Activities

Net Increase (Decrease) In Cash
Cash and Cash Equivalents, Beginning of Period

Cash and Cash Equivalents, End of Period

Case 20-20786

 

 

 

 

 

 

 

 

October 31, 2022 November 30, 2022 December 31, 2022 January 31, 2023

$ 87,100 $ 87,100 $ 87,100 $ 91,100
500 500 500 3,000

40,000 40,000 40,000 40,000

16,000 16,000 16,000 17,000

1,000 1,000 1,000 1,000

10,025 10,025 10,025 10,025
(84,730) (84,730) (84,730) (79,348)
(40,000) (40,000) (40,000) (45,000)

29,895 29,895 29,895 37,777
(10,000) (10,000) (10,000) (10,000)
(10,000) (10,000) (10,000) (10,000)
(9,558) (9,558) (9,558) (9,558)
(7,640) (7,640) (7,640) (7,640)
(17,198) (17,198) (17,198) (17,198)

2,697 2,697 2,697 10,579

470,771 473,468 476,165 478,862

$ 473,468 §$ 476,165 $ 478,862 $ 489,441

 

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Cash Flows Actual & Projection

Cash Flows From Operating Activities
Cash received from membership
Cash received from camps and classes
Cash received from daycare
Cash received from contributions
Cash received from building rental
Cash received from others
Cash paid to employees
Cash paid for operating activities
Net Cash Provided by (Used by) Operating Activities

Cash Flows From Investing Activities
Purchase and repair of capital assets
Cash paid tor capital expenditure needs
Proceeds from sale of fixed assets
Change in certificates of deposit
Change in bond reserve accounts
Change in restricted investments
Net Cash Provided by (Used by) Investing Activities

Cash Flows From Financing Activities
Principal & interest paid on capital tease obligations - building
(combined P&I in August 2020)
Principal paid on capital lease obligations - equipment
Proceeds from SBA loan - forgivable
Proceeds from note payable - net debt reduction
Plan payments
Interest paid on debt
Net Cash Provided by (Used by) Financing Activities

Net Increase (Decrease) In Cash
Cash and Cash Equivalents, Beginning of Period

Cash and Cash Equivalents, End of Period

Case 20-20786

 

 

 

 

 

 

 

 

February 28, 2023 March 31, 2023 April 30, 2023 May 31, 2023

$ 87,100 $ 87,100 87,100 §$ 87,100
3,000 5,000 10,000 10,000

40,000 40,000 40,000 40,000

16,000 16,000 16,000 16,000

1,000 1,500 1,500 1,000

10,025 10,025 10,025 10,025
(84,730) (84,730) (84,730) (84,730)
(50,000) (50,000) (50,000) (50,000)

22,395 24,895 29,895 29,395
(10,000) (10,000) (10,000) (10,000)
(10,000) (10,000) (10,000) (10,000)
(9,558) (9,558) (9,558) (9,558)
(7,640) (7,640) (7,640) (7,640)
(17,198) (17,198) (17,198) (17,198)

(4,803) (2,303) 2,697 2,197

489,441 484,638 482,335 485,032

$ 484,638 $ 482,335 485,032 $ 487,229

 

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Cash Flows Actual & Projection

June 30, 2023
Cash Flows From Operating Activities

Cash received from membership $ 85,600
Cash received from camps and classes 50,000
Cash received from daycare 20,000
Cash received from contributions 16,000
Cash received from building rental 1,000
Cash received from others 10,025
Cash paid to employees (100,877)
Cash paid for operating activities (50,000)

Net Cash Provided by (Used by) Operating Activities 31,748

Cash Flows From Investing Activities

Purchase and repair of capital assets -
Cash paid for capital expenditure needs (10,000)
Proceeds from sale of fixed assets -
Change in certificates of deposit -
Change in bond reserve accounts “
Change in restricted investments -

Net Cash Provided by (Used by) Investing Activities (10,000)

Cash Flows From Financing Activities
Principal & interest paid on capital lease obligations - building
(combined P&I in August 2020) (9,558)
Principal paid on capital lease obligations - equipment -
Proceeds from SBA loan - forgivable -
Proceeds from note payable - net debt reduction -

Plan payments (7,640)
Interest paid on debt -
Net Cash Provided by (Used by) Financing Activities (17,198)
Net Increase (Decrease) In Cash 4,550
Cash and Cash Equivalents, Beginning of Period 487,229
Cash and Cash Equivalents, End of Period $ 491,779

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EXHIBIT C
CAPITAL IMPROVEMENT ESTIMATES

$117,550.00 Roof replacement

$ 71,448.50 Parking lot refurbishment

$ 15,150.00 E Lobby air handling RTU replacement
$ 15,150.00 W Lobby air handling RTU replacement
$ 19,885.00 Gym air handling RTU replacement

$ 23,800.00 Wellness air handling RTU replacement
$ 10,450.00 Office air handling RTU replacement
$273,433.50

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